     Case 8:20-cv-01025-DOC-JDE Document 20 Filed 02/23/21 Page 1 of 2 Page ID #:60




 1    SO. CAL. EQUAL ACCESS GROUP
      Jason J. Kim (SBN 190246)
 2    Jason Yoon (SBN 306137)
 3
      101 S. Western Ave., Second Floor
      Los Angeles, CA 90004
 4    Telephone: (213) 252-8008
      Facsimile: (213) 252-8009
 5    scalequalaccess@yahoo.com
 6    Attorneys for Plaintiff
      CALVIN KWON
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      CALVIN KWON,                                      Case No.: 8:20-cv-01025-DOC-JDEx
11
12                 Plaintiff,
                                                        NOTICE OF VOLUNTARY
13          vs.                                         DISMISSAL OF ENTIRE ACTION
                                                        WITH PREJUDICE
14
      DANY ASKAR D/B/A FIRST STOP
15    LIQUOR; LUIS ROGELIO DIAZ;
16    BRILLIANT PROPERTY INVESTMENT
      GROUP, LLC; and DOES 1 to 10,
17
18                 Defendants.
19
20
            PLEASE TAKE NOTICE that CALVIN KWON
21
      (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
22
      voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
23
      Procedure Rule 41(a)(1) which provides in relevant part:
24
            (a) Voluntary Dismissal.
25
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                          and any applicable federal statute, the plaintiff may dismiss an action
27
28
                          without a court order by filing:


                                                    1
           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 8:20-cv-01025-DOC-JDE Document 20 Filed 02/23/21 Page 2 of 2 Page ID #:61




 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5    Court.
 6
 7    DATED: February 23, 2021       SO. CAL. EQUAL ACCESS GROUP
 8
 9                                   By:      /s/ Jason J. Kim
10                                         Jason J. Kim, Esq.
                                           Attorneys for Plaintiff
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                  2
           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
